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                      UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA

                              Lynchburg Division


     In re:                                 Chapter 11
     KAREN FOSTER,                          Case No. 12-60619

              Debtor.


     JOHN L. WYNNE,

              Movant,

     v.                                     Motion for Relief From Stay
     KAREN FOSTER,

                Debtor.


                            VERIFIED
 DEBTOR-IN-POSSESSION'S RESPONSE TO MOTION FOR RELIEF FROM STAY


      COMES NOW the debtor-in-possession, by counsel, who hereby
responds to the Motion for Relief from Automatic Stay filed by
John L. Wynne on the grounds stated herein.
     I. ENUMERATED RESPONSE TO THE MOTION FOR RELIEF FROM STAY

1.    The allegations of ^|l of the Motion for Relief from Stay are
admitted.
2.    The allegations of 12 of the Motion for Relief from Stay are
denied.     Ms. Foster has not filed "eight previous bankruptcies"
as alleged in the Motion for Relief from Stay.
3.    The allegations of ^3 of the Motion for Relief from Stay are
admitted.
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          4.       The allegations of f4 of the Motion ^or Relief from Stay are
          denied.       Mr. Wyrna did nor. make a loan on August 23, 2006 in the
           amount of $40,000.00.        On August 23, 2006, Mr. Wynne did nat loan
          Ms.      Foster any money: he paid Ms. Foster $100.00 for feeding his
          horses (Check No. 86951 acid he paid a parking ticket to City of
           Lynchburg (Check No. 86S6! that had been placed on Mr. Wynne's
           car while MS. Foster was driving it.           Mr. Wynne apparently
           considered those payments a loan, but they were not a loan--he
           owed those debts himself.-
           E        ^e allegations o£ H5 of the Motion for Relief £rom Stay are
           admitted, but the Lynchburg City Circuit Court did not consider
           any matters that: occurred prior the foreclosure sale on September
           25, 2008.       Specifically, the Lynchburg City Circuit Court in
           cases CL1C04-795-00 and CL1CQ05362-00 did not consider whether Mr.
           Wynne did not loan 5^0,000.00 to Ms. Foster or whether the deed
           cf trust and the subsequent foreclosure were fraudulent
           conveyances.
           6.       The allegations of <|6 of the Motion for Relief frorr. Stay are
           admitted.
           7.      The allegations of 1? of the Motion fior Relief froT. Stay are
           admitted.
           8        The allegations of He of the Motion for Relief from Stay are


                   1   Wynne may no^ claim than the Deed of Trust         secured
          advances of money to be made after August 23, 2006 because
          Va.Code 5 55-58.2 specifically requires thac such a deed cf trust
          state, in conspicuous letters, "THIS is A CREDIT LINE DEED OF
          TRUST," and the August 23, 2006 Deed of Trust did not contain
          such words.
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            admitted.
. .          g_   The allegations of 19 of the Motion for Relief from Stay are
            admitted.
            10       The allegations cf 1J10 of the Motion for Relief from Stay
            are adnieted.
            11       The allegations of 111 of the Motion for Relief from. Stay

            are admitted.
            12       The allegations of !il2 of the Motion for Relief from Stay
            are admitted, but the Chapter 13 Trustee told Ms. Foster that £he
            was not required to attend the meetings.
            13       The allegations of 113 of the Motion for Relief from Stay
            are admitted.
            14       The allegations of 1l4 of the Motion for Relief from Stay
            are admitted.
            15.      The allegations of Hl5 are denied.
                     (a)   The movan^'s characterization of the "Debtor's Response
            ^o Motion for Relief from Stay" in Case No. 12-60090 is not
            accurate because the mcvar.t's statement that, "That is exactly
            what the parties litigated for two years" is not correct,.
                     (b)   Ms. Foster's pro se failure to list a claim against Mr.
            Wynne in Case No. 12-60080 does not constitute grounds for
            judicial estoppel because the elements oC judicial estoppel are
            not pleaded in the Motion for Relief from Stay and Ms. Foster
            identified the grounds of her complaint against Wynne in the
            "Debtor's Response to Motion for Relief from Stay" filed on March
            S, 2012, while Case No. 12-60080 was still pending.
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            16.      The allegations of 1iG are denied.       The Chapter 13 Trustee

            did not make a comment on whether Ms. Footer made any "attempt"

            to comply with requirementg.
            17.      The allegations of 1l~ are admitted.

            ifl.     The allegations of ^18 are denied.       MS. Foster has paid the
            filing fee and filed all required schedules.

 i   *      19.      The allegations of 119 are denied.       The "Claim to Recover

            Lot 13 BXOch. A Evergree      [sic] Subdivision" is not the same clairr

            that Ms. Foster raised in Lynchburg Circuit Court.
            20.      The allegations of ^20 are denied.       The LynchJouig Circuit
            Cour.- has not entered a final order and the Court did not address

            any factual matters that, occurred before the foreclosure sale or

            whether the deed of trust or the foreclosure sale were                fraudulent

            conveyances.
            21.      The allegations ct ^21 is denied to the extent that it
            implies that thefcor.6,which : s property of the estate held j^y a

            custodi-ar., is not subject to turnover because of the tailing that

            Che custodian came into possession of the property.

            22.      The allegations of ^22 are denied because Mr. Wynne floes not

            have a valid claiTi to the property.         The only cla^ra he has to r,he
            propecty arises from his false claim tha^ he loaned $40,000.00 to

            Karen Foster en August 23, 2006,

            23 .     The allegations of ^23 are irrelevent to the issues

            regarding relief from the automatic stay an3 Ms. Poster denies
            the movanc's legal arguments.
            24.      The allegations of fl24 are irrelevent to the issues
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          regarding relief from the automatic stay and ME. Foster denies

          the movant'e legal arguments.
    a     25.      The allegations of 1)25 that Ms. Foster has no business to

          reorganize are denied.
          26.      THERE IS EQUITY IN THE PROPERTY: The allegations of 1126 that
          Ms. Foster has no equity in the 2232 Ridgewood Drive property are
          denied because the movant has no claim in the property -hat does
          not arise from his false claim that lie loaned 540,000.00 to Kaxen
          Poster on Aucuet 23, 2006.         The movant has claimed that the
          property is worth $200,000.00 and the movar.t' s claim is for
          $40,000.00, leaving equity in the property of $163,000.00.
          27.      THE PROPERTY IS NECS5SARV_FQR MS. FOSTER'S RBQR5ANI2£T^gNL

          The allegations of 127 that the property at 2232 Ridgewood Drive

          ig not necessary for MS. Poster's effective reorganization are

          denied because it is Ms. Foster's home, she rents rooms in the
          house for $1000.00 per month, and the house is a substantial

          asset that should be recovered by the bankruptcy estate.

                   II. EQUITABLE ...GROUNDS FOR DEIJYING THE MOTION. FOR RELIEF
                                             FROM STAY

                     A. THE .DEED.. Q£ TRUaT__WA5 A. FRAUDULENT CONVEYANCE AND
                               WAS CONCEALED Bjf_ BANKRUPTCY 7RAUD

          28.      This Court should deny the Mcticn for Relief from Stay

          because the August 23, 2006 Deed of Trust made in favor cf Wynne

          was a fraudulent conveyance.         The fraudulent Deed of Trust is che
          sole basis o£ Mr. Wynne's claim to possession of the property ac
          2232 Ridgewocd Drive and possession of a $20,500.00 bond posted
          by Ms. Poster with the Clerk of the Circuit Court of the City of
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            Lynchburg -
            29     Mr    Wynne has presented, throughout tine state court

            litigation, and i:i the instant Motion for Relief from Stay, the

            fraudulent and false premise that he leaned Ms. Fester $4C,OCO.OQ
            on August 23, 2006.         Specifically, the movant stated in 14 of the
            instant Motion for Relief from Stay that the Lynchburg Circuit
            Court "suits arose from a loan made on August 23, 2006 by Mr.
            Wynne to Ms. Poster which was evidenced by a $40,COC 00 demand

            note and wafi secured by a second deed o£ trust on reaZ. property
            then owned by ME. Foster located at 2232 Ridg^wood Drive,
            Lynchburg VA-"        In face, Mr. Wynne leaned Ms. Foster no money on

            August 23, 2006.
>,    x.    3D.     Ms. Foster has consistently claimed that Wynne did not loan,

            hsr 540,000.00 on August 13, 2COS.          She first les.rned en
            September 12, 2008 that Peter Sackett had scheduled a foreclosure
            sale of her property for Septeinber 25, 2008.           Ms. Fester, acting
            pro se. filed Case No. CLD8 -C 0?.958 - OOi. in Lyncnburg Circuit Courc
            to enjoin the September 25, 2003 foreclosure sale,               A hearing was
            held or. September 24, 2308.        At the hearing, MS. Foster said that
            Mr. Wynne did net loan her $40,000.00 and she demanded an
            accounting of the money that Wynne claimed was due under the
            note.       The Court denied the nor-inn tcr an injunction, but told
            Peter Sackett to provide her an accounting of the money due under
            the note.       Mr. Sac^ett did not provide the accounting, bun
            conducted the foreclosure sale the next day.            Subsequent

            litigation between Xis. Foster, Wynne, and SacXett involved only
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           events that occurred after tbe foreclosure sale, not tne amount
           due under the note.
            31       The transfer of Che Deed of Trust tc Wynne was a fraudulent

            conveyance.
                     {at     The Deed of Trust wag a vcid transfer pursuant to

            Vs.Code § 55-81.
                              (1)    The Deed of Trust was a transfer frorr Ms. Foster

            to Wynne of an interest in her propertyf and
                              (2)    Ms. Foster was insolvent at che time or was
            rendered insolvent by ihe transfer of the equity in her hoT.e,-
                              (3)    The consideration £or the transfer of the Deed of
            Trust (SO.00) was not of equal value to the property obtained by
            Wynne in the transfer ($40,000.00).
                     (b)      The Deed of Trust to Wynne was a void transfer pursuant
            to 11 U.S.C. § 548.
                              <;i)   The Deed of Trust was made within two years prior
            to the filing of MB. Foster's Chapter 7 Cage Wo. 07-61731;
                              {21    MS. Foster received less than reasonably
            equivalent value for the transfer of the Deed of Trust (SO.CO)
            and she did not receive equal value to the property obtained by
            Wynne in the transfer ($40,000.00); and
                              (3)    Ms/ Foster was insolvent: at the time or was
            rendered insolvent by the transfer of the equity in her home.
            •i2 •    The    ^rai^clulent conveyance was concealed by Wynne's Eraud.
           ME. Foster filed Chapter 7 Case Mo. 07-61731 on SepterrJDer 14,
            2C07.      Andrew S. Goldstein was appointed Trustee in the case. Or.
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            April 3, 2008, Wynjie filed a letter with the Clerk of this Court,
            with a copy Co Mr. Goldstein, purporting to be a Proof of Clain
            in Case No. 07-61731.              The letter stated: "I am submitting a
            Prngf of Clajjo supported by an it end zat3.cn of charges and a
            schedule of loans to [Ma. Foster]" (underlining in original! .
            The letter claimed a "$40,000 note executed by Ms [sic] Foster
A     4     secured by a recorded Deec of Trust on 2232 RicLgeWood DR. [sic]
            L/nchburg            RE: schedule [A).     Amount due $45,915.00." Wynne
            attached a document entitled "Schedule A" that showed that Wynne
            charged Foster 6% interest from August 23, 2006, and showed a

            total clai™ of "$45,315," even chough Wynne had net loaned Foster
            $40,000.00 on August. 23, 2005               Upon information and belief, Mr.
            Goldstein was misled by Wynne's fraudulent Proof of Claim into
            not pursuing a fraudulent conveyance claim even though he would
            have done so if he had not been misled by Wynne.
                      WHEREFORE the granting of the Motion for Relief from Stay by
            this Court would allow Wynne to complete a fraudulent schene to
            obtain Ms. Poster's property for nothing and this Court should
            not enter such an order.
                                        B._ THE FORECLOSURE SALE TS VOID.
                               (jj THE AUGUST 23. 2D06 MOTE WAS VOID AB.INIT10
                              AND THE FDRECLOSOR3 SALE TO ENFORCE THE NOTE I£
                                                 ALSO VOID.

x           33.       This Court should deny the Motion for Relief from Stay
            because the foreclosure sale was void,                The foreclosure sale was
            void because it was an action to enforce the August 23, 2006 Heed
            of Trusc, which sacured the August 23, 2006 Note, but the Note

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            itself is void.           The foundation of Wynne's claim to Ms. Foster's

            property is the void note,
            id
            ji.       The Note is invalid under Virginia contract law.
                       (a)   The Note was not a bargained-for exchange.
                             (1)    A contract that is riot supported by consideration
             is not a true bargain and is void.            Although a "peppercorn" may
             be adequate consideration under Virginia law if actually
             bargained, no consideration is a sign that the contract was not
            based on an actual bargain.
                             (2)    The utter lack of consideration here was not
             actually bargained-for.            On the morning o£ August 23, 2006, Ms,
             Foster was released from jail.            She was broke.    She immediately
             went to see Wynne, her boyfriend, because he was her boyfriend
             and she wanted to see him and because he owed her S10C.OC for
             feeding his horsss,            Wynne was himself incarcerated at the time
             and was allowed to go to v?ork each day on work release, so he had
             not been allowed to see Ms. Poster while she was in jail,
            According to Wynne, Ms. Foster signed a Note and Deed, of Trust,
             promising to pay him 340,000.DO during that visit.                According to
            Wynne's version of the facts, he had apparently prepared the
            papers while Ms. Foster was in jail and than she had not seen or
            discussed with him prior to that morning.
                             (3)    The contract ^as not a bargained-for exchange,
            which is evidenced by the lack of consideration for Wynne's
            windfall. See Restatement (Second) of Contracts § 71(1) (1961) {"To
            constitute consideration, a performance or a return promise must
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      be bargained for") . Thus, the Note was Wad ab j.nit.lo and the
      foreclosure, which was merely an action ,to enforce the void

      contract, is also vcid.
             (b)    The Note recited false consideration,
                     (l)   JU-though a peppercorn or, "tomtit" may be adequate
       consideration, the consideration for the contract must be
       correctly stated in the contract.          The consideration may not be
       -alsely stated or be a sham.        Restatement (Second) oE Contracts §
       79 [1961), comment d.       Sham consideration may not support a valid
       contract . JTd^
                                                   i
                     U)    Here, the contract stated that Ms. Foster promised
       to pay Wynne $40,000.00 in exchange "Fdr Value Received."            The
      value she received was not the stated S4C,000.00? instead she
       received nothing.
                     (3)   The Note was void because it contained a falee
       recital oE consideration.        The Note waS void ab_ initjj: and the
       foreclosure, which was merely an action to anforce the void
      contract, is also void.
                   _(2\B FORECLOSURE SALE IS VOID AS A
                               TRANSFER. UNDER VIRGli &UL
       35.   Peter SacXett, the trustee acting under the August 23, 2 005
      Deed cf Trust, fraudulently conveyed MB. Foster's property at
      2232 Ridgewood Drive to Wynne in violation of Va.Code § $5-80 and
      Va. Cods S 55-81 .
             (a)    The Trustee's Deed was a voi'd transfer pursuant to
      va.Code § 55-flO .
                    (it    The Trustee' 3 De^d was <a transfer from Sacketc to
                                             10
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            Wynne of an interest in. property; and
                              (2) The? transfer was made with the intent by Wynne
             (who    falsely told Sackett Chat he was owed $40,000.00 by Foster)
            to delay, hinder or defraud creditors or other persons,
            specifically Me. Pester, o£ property to which Fester was lawfully

             entitled.
                      (b)   The Trustee's Deed was a void transfer pursuant to

            Va.Code § 55-81.
                              (1) The Trustee's Deed was a transfer from Sackett f.o
            Wynne of an interest in Ms, Foster's property,- and
                              (2)     MS. Foster was insolvent at the time of the
             transfer;
                              <3)     The consideration for the transfer of the
            Trustee's Deed, (SO.OC} was not of equal value to the property
             obtained by Wynne in the transfer ($40,000.001 .
             3€.     Ms. Foster has tiled an adversary proceeding in this Court
             to avoid under Virginia law the fraudulent transfer o£ her
            property by the sharr. Trustee's Deed                  3


                     WHEREFORE the granting ot the Motion for Relief from Stay by


                 ' Ms. Foster prays that this Court will note that the
            Supreme Court's decision in BFP v. Resolution Trust Co.. 511 U.S.
            531, 545 (1994) IB not applicable here, BFP, related to an attack
            en a foreclosure sale under 11 U.S.C. § 548 and the debtor's
            adversary proceeding is not brought under that statute.
            Moreover, the Supreme Court wrote that "Iw]e deen, as the la* has
            always deemed, that a fair and proper price, or a "reasonably
            equivalent value," is the pri.ce in fact received at the
            foreclosure sale, so_ J^or,g as all the..requirements of the state's
            fcreelogure lav? have been compiled, with" (emphasis aided) , and
            the Ms. Poster has attacked the foreclosure sale strictly or.
            state law grounds.
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         tni& Court, would allow Wynne to complete a fraudulent scheme to
          obtain Ms. Foster's property for nothing and this Court should

         not enter such an order.
                     .<31 THE FORECLOSURE SAL5 15 VOID DUE TO A GROSSLY
                                   IMADEOUA7E_SAL3S_PRICE .

          37     The foreclose sale is void because Ms. Foster's -property was

          sold by Pater Sackett, the trustee who sold the property pursuant
          to the Deed ot Trust, for a grossly inadequate price
          38.    Virginia, law requires tha" a foreclosure sale is void0 it
          the sale is cor a price 30 inadequate 'that it shocks the
          conscience o£ the chancellor."1           Here, Wynne "bid in" Uie

          property for the amount cf his debt, which was SC.OD.               The
          property was worth $200,000.00.           Wynne paid a price equal to fi%
          of cne value of the property.           The price of t.his sale was so
          inadequate as to have been merely a sham price.              The sale price

          here -was plainly inadequate; the only way to conclude that the

          Gale price was not "so inadequate" "that it shocks the conscience
          of the chancellor" is to conclude that the rule of

         unconscionability is not valid but is itself a sham.

                 WHEREFOR3 the granting o£ the Motion for Relief fi-cm stay by
          this Court would allow Wynne tc complete a fraudulent scheme to
          obtain Ms. Foster's property for nothing and thie Court should



              J   Lirmey v. NormovAe. 145 Va. 589, 592, 134 S.E. 554, 554
         (1926) ( " the conveyance" "was voidable in a court of equity', and
         would have been decreed void at the prayer of M. F. Nc-rmoyle, t
         complainant," but Normoyle did not ask that the sale be decreed
         void).

                 1   Id. at 595, 134 S.E       at 555.
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           not enter such an order.
                         (41 THS FORECLOSURE SALE . 15 VOID. AS A
                                  TRRNSF.ER UTSTJER BANKRUPTCY LAW.

           39.      The foreclosure sale was void under 11 U.S.C. § 546.                           Peter
           Sacket-, the trustee acting under Che August 23, 2006 Deed of
           Trust, fraudulently conveyed MB. Foster's property at 2232
           Ridgewood Drive to Wynne in violation o£ 11 U.S.C. § 549{a) (1) .
           34,      The Supreme Court's decision in BFP y. Resolution Trust
           £e_^,* is noc applicable to tnis claiir..                     B£P related to an attack
           on a foreclosure sale under 11 U.S.C. § 548 and MS. Foster's
           adversary proceeding is not. brought under that statute.
           Moreover, the Supreme Court wrote that "[w] e deem, as the law has
           always deemed, that a fair and proper price, or a "reasonably
           equivalent value, IT is the price in fact received at the
           foreclosure sale, so long, as all the requirements o£ frhe state'3
           foreclosure lav have been conplied with" (emphasis added).                               The
           Ninth Circuit has held, after BFP that: "Gross inadequacy of
           price is a ground for setting aside the foreclosure, under BFP,
           if state law so provides, cut it is not a federal standard
           independent of state law enabling a bankruptcy court do set aside
           a foreclosure sale."6                  Thus, if state law allows, as Virginia law
           does, a foreclosure sale to be set aside when the price shocks
           the conscience, a bankruptcy cour^ may apply that standard of


                    5   511 U.S- 531, 545             (1994)

               ' Lindsay v. Beneficial Reinsurance Co. r 59 F.3d 942, 948
          (9th Cir. 1995), Cerj:. _dei^ed. 516 U.S, 1074, 11G S. Ct. 7?'a "3
          L.Ed.2d 73G (1996) .

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          value to determine whether a foreclosure sale is a fraudulent
          conveyance under 11 U.S.C, § 54B(a)(i).'1
          40      Tne foreclosure sale by Sackett was avoidable pursuant to 11

          U.S.C. § 548 (a) (1) .
                  (a)        The transfer was a transfer of an. interest, in Ms.
          Foster' s property,-
                      (b)     The transfer was made within two years of the filing of
          the petition in this case;
                      (c)    The transfer was made for less than a reasonably
          equivalent value, as defined by Virginia law;
                      (d)    Me. Foster v?as insolvent at the time the transfer was
          made.
                  WHEREFORE the granting of the Motion for Relief from Stay by
          this Court would allow Wynne to complete a fraudulent echeme to
          obtain Ms. Foster's property for nothing and this Court should
          not enter such an order.
                            III.   TH5 COU.RT SHQUU) DENY THE MOTION FOR RELIEF
                             STAY BY EITHER ADJUDICATING THE MERITS OP_MS
                              FOSTER'S CIAIM OS BY ADJUDICATING HER CIAyty?
                                   UNDER THE STANDARD OF A PRELIMINARY
                                               INJUNCTION.
          41.     Defenses involving the validity of the moving creditor's
          asserted lien or claim for relief may be considered by the
          Bankruptcy Court in exercising its discretion, in connection with
          the life-stay hearing."             Congress explained the relationship

                  7     Murj?hv v^..Towp of Karrigpn. 33i B.R        107, 127 (Bankr
          S.D.N.Y. 2005).

               s  United Companies Financinal Corp v. Brantley, 6 B.K. 178,
          185 (Bankr. W.D. Fla. i960) ; ^^ ^£^ In re Bialar. 694 F.2d 625
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             between motions £or relief frotr. stay and claims chat the debtor

             has against the movant.             Normally, a hearing on a motion for

             relief from stay is not "the appropriate time at which to bring
              in other issues, such as counterclaims against the creditor or
              largely unrelated matters.""             However, the Bankruptcy Court may
             consider "evidence on the existence o£ claims which the court may
             consider in exercising its discretion," including evidence on che
             amount, extent, and validity of the movant's claim.                      The debtor

              is not prohibited from presenting evidence on the existence of

              collateral claims at a hearing on a motion for relief frcm stay;

             the Senate report stated that " Iwl'nat is precluded is a
             determination of such collateral claims on the merits at the

             hearing. " 1Q
             42.       Ms. Foster's claims are "direct defenses--ones that qo to
             the heart of the creditor's claim."               As direct defenses, the

             Court should determine the merits of her defenses at the hearing

             on the motion for relief from stay.:i
             43.       When a debtor raises "extraneous grounds" as a defense to a
             motxon for relief from the stay, the Bankruptcy Court should not
             adjudicate the extraneous grounds on their merits, but simply


              (9th Cir. 1982) .
                   9 H.R. Rep. No . 595, 9bth Cong., 1st Ses3. 544 (1977),- in
             re Vitreous Steel .Products Co.. 911 F,2d 1223, 1232 (7th Cir.
             1990); In re Booth, 289 B.R. 665, 667-668 (Barxkr. N.D. 111.
             2005) .


                   11 See Drake v.. Franklin Equipment Co.. 416 B.R. 493 (B.D
             Va . 2009) .
                                                         15
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           determine whether chere is a "colorable" claim Lhat should be
            decided on the merits befcre relief from tha stay is granted.13
           when a debtor raises extraneous grounds as =i defense Co a motion
            for relief from stay, the Bankruptcy Court should consider those
            grounds in the manner appropriate to an equivalent request for a
            restraining order or preliminary injunction.
            43.      If the Court considers Ms. Poster's defense Co the Motion
            for Relist from Stay as "extraneous grounds" rather than "direct
            defenses," Chen her defense satisfies the elements of A
            Preliminary Injunction a.3 set forth in The Real Truth About
            Jbama. Inc. v. Federal BlecJLXPEL_CotUQiss_l.or,."
                     (a)     Me. Foster xs likely to succeed on the merits of her
            claim that Wynne did not loan her any noney on August 23, 2005.
            The motion for relief from stay should not be granted until she
            has had a hearing on the merits of her claim.
                     (b)     Me. Foster is likely tc suffer irreparable harm in the
            absence of preliminary relief because Wynne would regain
            possession of the property, Ms. Foster would be ejected from ner
            hem?, Ms. Foster would IOPR her tenants and the rental income
            that she gains from the property.             Wynne would be free, in the


                 " Grell_a v. Salem Five Cent.Savings Bank, 42 F . 3d 2€, 32
            (let Cir. 1994) (stating that proceedings under § 362 c£ the C
            "do noL involve a Cull adjudication on the merits of claims,
            defenses, or counterclaims, but. simply a determination as to
            whether a creditor has a colorable clexm to property o£ the
            estate'1}; In re Vitreous Steal products Co.. 911 p.2d as 1232
            (hearings to determine whether stay should be lifted are meant to
           be summary in character) .
                    15     575 F,3d 342 (4th Cir, 2C09).
                                                     16
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         absence o£ an injunction, to convey the property to a bor.a fide
         third-party purchaser for value, which would render it impossible
          for MB. Foster to recover tne property.           The har^r. to Ms. Foster
         would be irreparable by a legal remedy.
                  <c)   The balance of equities tips ir. Ms . Foster's favor.
          Ms. Foster will Icse her property if an irxyjncticn is not granted
          pending a hearing on the merits of her claim, rendering a later
         hearing on the merits moot.          This is balanced against no harm to
          Wynne, who has perpetrated a fraud upon this Court, upon Ms.
          Foster, and upon Ms. Foster's creditors.           Wynne is fully
          protected against delay in a full hearing on the merits of KS.
          Foster's claim by a $20,500.00 cash bond posted Mr                  Fester and by
          an equity cushion of $200,000.00.           Ths balance of equities weighs
          heavily in favor Ms        Poster and in favor of delaying a ruling on
          the trotion for relief from stay pending a ruling on the merits of
          her clain,
                  (d)   An injunction is in the public interest.              Wynne has
         perpetrated a fraud an the Circuit Court of the City of
          Lynchburg, the Corrmissioner of Accounts to whom the accounting of
          the foreclosure sale was filed, the Trustee in Ms. Foster's 2007
          bankruptcy, and upon this Court in this proceeding.                  If ar.
          injunction is not granted, Wynne will have successfully completed
          his fraudulent scheme by obtaining possession of MS. Foster's
         borne.     The public interest can only be protected by denyinc the
         motion for relief until the merits of MB. Foster's claim are
         adjudicated.

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